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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

BUTHAYNA HAMMAD,                                        §
       Plaintiff,                                       §
                                                        §
v.                                                      §    CIVIL ACTION NO. H-14-1938
                                                        §
DYNAMO STADIUM, LLC, et al.                             §
                                                        §
                        Defendant.                      §

                                               MEMORANDUM AND ORDER

            Plaintiff Buthayna Hammad brings this case alleging various civil rights

violations and a Texas state law claim for false imprisonment. Defendants Dynamo

Stadium, LLC and Nathan Buchanan have filed a Motion to Dismiss Plaintiff’s First

Amended Complaint for Failure to State a Claim and Brief in Support [Doc. # 16].

Plaintiff has responded [Doc. # 18] and Defendants have replied [Doc. # 19]. The

Motion is ripe for decision.

            The Court has carefully considered the parties’ submissions, all matters of

record, and applicable legal authorities, and concludes that the Motion should be

denied. Defendants have not met their burden under Rule 12(b)(6) for dismissal of

any of Plaintiff’s claims at this early stage in the proceedings. Federal courts

traditionally hold that a motion to dismiss under Rule 12(b)(6) is viewed with disfavor

and is rarely granted. See Lormand v. US Unwired, Inc., 565 F.3d 228, 232 (5th Cir.

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2009); Test Masters Educ. Servs., Inc. v. Singh, 428 F.3d 559, 570 (5th Cir. 2005).

The Supreme Court has explained that in considering a motion to dismiss under Rule

12(b)(6), a complaint must be liberally construed in favor of the plaintiff and all well-

pleaded facts taken as true. See Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009); Erickson

v. Pardus, 551 U.S. 89, 94 (2007) (citing Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 555–56 (2007)). However, “[t]hreadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at

678 (citing Twombly, 550 U.S. at 555). The complaint must contain “sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id.

(quoting Twombly, 550 U.S. at 570). Plaintiff has sufficiently pleaded each of her

claims. The questions raised by the Motion require a fact-intensive analysis and are

best decided on an evidentiary record.

            The Court also finds that this case is well-suited for an early mediation. The

Court requires the parties to mediate this case with Gloria Portela at the earliest

possible time given counsel’s, the parties’ and the mediator’s schedules.

            It is therefore

            ORDERED that the parties must MEDIATE this case with Gloria Portela

as soon as possible. As part of Ms. Portela’s commitment to pro bono and to

assisting the Court and parties, she has agreed to charge a reduced fee of $500 per


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party per day (with Defendants deemed to be “one party” for this specific purpose, at

this time). All parties that have been served and have appeared in this case must

attend the mediation in person.                        Ms. Portela may be contacted as follows:

gportela@seyfarth.com or 713-225-2341. The provisions of this District’s Local Rule

16.4 apply. It is further

            ORDERED that the initial pretrial conference originally set for December 16,

2014, is RESET for Thursday, December 11, 2014, at 2:00 p.m.

            ORDERED that Defendants’ Motion to Dismiss Plaintiff’s First Amended

Complaint for Failure to State a Claim and Brief in Support [Doc. # 16] is DENIED.

            SIGNED at Houston, Texas, this 5th day of December, 2014.




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